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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

               v.
                                         Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

                           Defendant



                             JOINT STATUS REPORT

      The United States of America, by and through the U.S. Attorney for the

District of Columbia, and Mr. Flynn through his counsel, file this joint status

report to provide the Court with the current status of this matter.

      On June 24, 2019, the Court ordered the parties to file another joint status

report by no later than August 30, 2019. On August 21, 2019, the Court instructed

that the status report address four topics: (1) the status of the defendant’s

cooperation; (2) whether the case is ready for sentencing; (3) suggested dates for the

sentencing hearing, if appropriate; and (4) whether there are any issues that would

require the Court's resolution prior to sentencing.

      The parties are unable to reach a joint response on the above topics.

Accordingly, our respective responses are set forth separately below. Considering

these disagreements, the government respectfully requests that the Court schedule

a status conference. Defense counsel suggests that a status conference before 30

days would be too soon, but leaves the scheduling of such, if any, to the discretion of

the Court. The government is available on September 4th, 5th, 9th or 10th of 2019,
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or thereafter as the Court may order. Defense counsel are not available on those

specific dates.

       I.     Counsel for the defendant advises the following:

       1.     Mr. Flynn’s cooperation is complete. He not only cooperated

extensively with the Special Counsel’s office, but also with the prosecutors in the

Eastern District of Virginia in the Rafiekian case. This cost Mr. Flynn more than

100 hours of his time and hundreds of thousands of dollars in additional legal fees.

He even waived the attorney-client privilege and the protection of the work-product

doctrine to enhance his cooperative effort.

     2.       The case is not ready for sentencing. As new counsel, we have only

recently received the entire file, which occupies 13 hard drives, comprised of more

than 300,000 documents, and we are still working with prior counsel to tie up some

loose ends. The last of those hard drives was just uploaded to our document review

system within the last 30 days. Despite our best efforts, it will still take a

significant amount of time to complete our review. More troubling, there is much

information that we do not have—and neither did prior counsel. Thus, the defense

requests an additional 90 days before the next status report.

     3.       For the reasons set out above, the defense does not have any dates to

suggest for sentencing.

     4.       There are serious issues to be addressed by the Court before we can

proceed further. First, the government continues to deny our request for security




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clearances. Our attempts to resolve that issue with the government have come to a

dead end, thus requiring the intervention of this Court.

      Our client held the highest security clearance the government provides. We

know—but not in any detail because of our lack of clearance—that he briefed and

debriefed the DIA about his foreign contacts and travel. All that material is

relevant to the charges against him, and it is most likely Brady material to boot.

Although Mr. Flynn was a civilian at the time, that information remains classified--

or at a minimum withheld from the defense.

      There is other information relevant to the defense that is either classified or

being suppressed by the government, not the least of which are the transcripts and

recordings of the phone calls that supposedly underpin the charges against Mr.

Flynn. The government has steadfastly refused to produce those – even to this

Court. The Inspector General of the Department of Justice has completed one or

more relevant reports that include classified sections, and he is completing

additional reports that reportedly will include a large classified section – a

significant portion of which will almost certainly relate to Mr. Flynn. We must have

access to that information to represent our client consistently with his

constitutional rights and our ethical obligations.

      Second, the government has also failed to produce, among other things, the

original or first draft of the FBI 302 of the interview of Mr. Flynn on January 24,

2017, and the 1A file which we have repeatedly requested, and any records or

documents that show everyone who made changes to that 302.



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        We expect to identify more issues for the Court promptly, and we will file the

appropriate motions to address those issues as soon as possible. In the interest of

efficiency, we will certainly continue to review the materials we do have

simultaneously with addressing these additional issues.

II.     The government advises the following:

        1.    The defendant’s cooperation has ended.

        2.    The case is ready for sentencing, and the government proposes the

following dates for a sentencing hearing: October 21-23, 2019, or November 1-15,

2019.

        3.    The government is not aware of any issues that require the Court’s

resolution prior to sentencing.

        4.    We take very seriously our discovery and disclosure obligations, to

include those specifically imposed by the Court in this case. As we have previously

communicated to defense counsel, discovery and disclosure of classified national

security information, as defined under Executive Order 13526 and its predecessor

Executive Orders, is governed by the procedures set forth under the Classified

Information Procedures Act, 18 U.S.C. App. III. Sections 1-16 (“CIPA”), and

specifically CIPA Section 4. A defendant and his/her cleared counsel in a criminal

prosecution may only obtain access to classified U.S. government information when

such classified material is deemed both “relevant” and “helpful to the defense.” See

United States v. Yunis, 867 F.2d 617, 623-24 (D.C. Cir. 1989).




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      The government has exceeded its discovery and disclosure obligations in this

matter, including those imposed pursuant to Brady v. Maryland, 373 U.S. 83

(1963), and the Court’s Standing Brady Order dated February 16, 2018. That

includes the provision to the defendant of over 22,000 pages of documents. Among

those documents are all versions in the government’s possession of the FBI report of

the January 24, 2017 interview of the defendant and the interviewing agents’ notes.

The defendant and his prior counsel were in possession of those notes and draft

reports of the January 24 interview before his scheduled sentencing on December

18, 2018. The government has not provided any classified information to the

defendant or his counsel, and the government is not aware of any classified

information that requires disclosures to the defendant or his counsel under Brady

or the Court’s Standing Brady Order.



                                             Respectfully submitted,


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JESSIE K. LIU                              SIDNEY POWELL
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